
PER CURIAM.
Affirmed. See Alexander v. State, 830 So.2d 899 (Fla. 2d DCA 2002). As this court did in Alexander, 830 So.2d at 899-900, we certify the same question of great public importance, to wit:
WHETHER ALLEGATIONS OF AFFIRMATIVE MISADVICE BY TRIAL COUNSEL ON THE SENTENCE ENHANCING CONSEQUENCES OF A DEFENDANT’S PLEA FOR FUTURE CRIMINAL BEHAVIOR IN AN OTHERWISE FACIALLY SUFFICIENT MOTION ARE COGNIZABLE AS AN INEFFECTIVE ASSISTANCE OF COUNSEL CLAIM.
Affirmed; question certified.
COVINGTON, CANADY, and VILLANTI, JJ., Concur.
